      Case 5:21-cv-01152-ACA-NAD Document 22 Filed 02/24/23 Page 1 of 2                              FILED
                                                                                            2023 Feb-24 PM 12:50
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

 RICHARD KEVIN HESTER,                          )
                                                )
           Plaintiff,                           )
                                                )
 v.                                             )    Case No. 5:21-cv-01152-ACA-NAD
                                                )
 FRANK WILLIAMSON, et al.,                      )
                                                )
           Defendants.                          )

                              MEMORANDUM OPINION
       On January 6, 2023, the magistrate judge ordered Plaintiff Richard Kevin

Hester to provide the court with his current mailing address within fourteen days.

(Doc. 18). The magistrate judge warned Mr. Hester that failure to comply could

result in the dismissal of this action for failure to prosecute. (Id. at 2). Mr. Hester

failed to comply with or otherwise respond to that order. On February 6, 2023, the

magistrate judge entered a report recommending that the court dismiss this action

for failure to prosecute. (Doc. 19). The copies of the report and recommendation

mailed to both jails where Mr. Hester might be located have been returned to the

court marked as undeliverable and with notations that Mr. Hester is not there.1




       1
         Specifically, the copy sent to Mr. Hester at the Morgan County Jail has been returned by
the United States Postal Service with the notation “N-I-J,” which stands for “Not in Jail.” (Doc.
20). The copy sent to Mr. Hester at the Colbert County Jail was returned marked “Not Here.” (Doc.
21).
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      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the court ADOPTS the

magistrate judge’s report and ACCEPTS the recommendation. Accordingly, the

court WILL DISMISS this action WITHOUT PREJUDICE for failure to

prosecute.

      The court will enter a separate final order consistent with this opinion.

      DONE and ORDERED this February 24, 2023.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




                                          2
